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                              UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig “Deepwater             MDL 2179
Horizon” in the Gulf of Mexico, on April 02,
2010                                                   SECTION J

                                                       JUDGE CARL J. BARBIER
This Document Relates to:
Donovan v. Barbier; et al                              MAGISTRATE
2:21:cv-00237                                          DONNA PHILLIPS CURRAULT


                                             ORDER

           CONSIDERING the Motion for Leave to File Motion Out of Time filed by Stephen J.

Herman and James P. Roy, the Motion is granted.

           New Orleans, Louisiana, this ______ day of August 2021.



                                              __________________________________________
                                                       JUDGE CARL J. BARBIER




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